Case 2:18-cv-00642-JES-UAM Document 21-1 Filed 03/07/19 Page 1 of 4 PageID 62




              SETTLEMENT AGREEMENT AND PLAINTIFFS
        FULL AND FINAL RELEASE OF CLAIMS FOR UNPAID WAGES

        1.     This Agreement covers all understandings between OSCAR
  AGUIRIANO (hereinafter referred to as "Plaintiff/' a term which includes Plaintiffs
  successors, beneficiaries, personal representatives, and heirs), and SOUTH
  STREET RESTAURANT GROUP, INC. (hereinafter referred to as "Defendant," a
  term which is defined to include any and all related entities, owners, directors,
  administrators, agents, officers, supervisors, employees, attorneys, or
  representatives [all in their official and individual capacities], as well as its heirs,
  executors, administrators, predecessors, successors, insurers, assigns, and all other
  persons, partnerships, firms or corporations, and their insurers who are related to
  SOUTH STREET RESTAURANT GROUP, INC.).

        2.    For and in consideration of the promises outlined in Paragraph 3 of
  this Agreement, Plaintiff agrees as follows:

        A.     To settle and release any and all claims which Plaintiff has against
               Defendant related to Plaintiffs claim for unpaid wages which arose or
               may have arisen prior to the date of execution of this Agreement;
               including without limitation, claims set forth in Case No. 2:18-cv-642«
               FtM (the "Lawsuit"); provided however, that any such release shall not
               be effective, final and binding if Defendant fails to make any portion of
               the payments described in Paragraphs 3 or 4 (the "Settlement Funds")
               or if any of said payments do not clear or if any of said payments are
               reversed due to bankruptcy proceedings filed by or against Defendant.

        B.     To agree and acknowledge that this settlement does not constitute an
               admission by Defendant of any violation of any federal, state, or local
               statute or regulation, or any violation of any of Plaintiffs rights or of
               any duty owed by Defendant to Plaintiff.             In fact, Plaintiff
               acknowledges that Defendant specifically denies any wrongdoing or
               violation of law, and that Defendant is entering into this settlement to
               avoid the uncertainties and costs associated with protracted litigation.

        3.     For and in consideration of the promises made by Plaintiff in
  Paragraph 2 of this Agreement, Defendant agrees to pay the total consideration of
  Thirteen Thousand Seven Hundred Fifty Dollars and 50/100 ($13,750.00) in several
  separate payments as set forth in Paragraph 4 below ("Settlement Funds").
  Plaintiff will receive a total of $9,500.00 representing wages and liquidated
  damages, and Plaintiffs counsel will receive $4,250.00, representing attorneys' fees
  and costs (the "Attorney Fee") incurred on Plaintiffs behalf.

         4.    Under this Agreement, the Settlement Funds and Attorney Fee shall
  be disbursed as follows:

                                        Page 1 of 4

                                                                         Exhibit A
Case 2:18-cv-00642-JES-UAM Document 21-1 Filed 03/07/19 Page 2 of 4 PageID 63




               a. Within fourteen (14) days after the Court approves the parties'
                  settlement:

                      i. One check payable to Plaintiff for $2,375.00 representing
                         wages    to   be reported    on    a   W-2 (with     applicable
                         withholdings);

                     ii. One check payable to Plaintiff in the amount of $2,375.00
                         representing liquidated damages to be reported on a form
                         1099 and characterized as "other income"; and

                    iii. One check payable to Weldon & Rothman, PL in the total
                         amount of $2,125.00, representing attorneys' fees and costs,
                         to be reported on a form 1099.

               b. Within thirty (30) days ofthe paymentlisted in Paragraph 4(a):
                      i. One check payable to Plaintiff for $2,375.00 representing
                         wages to be reported on a W-2 (with applicable withholdings)
                     ii. One check payable to Plaintiff in the amount of $2,375.00
                         representing liquidated damages to be reported on a form
                         1099 and characterized as "other income";

                    iii. One check payable to Weldon & Rothman, PL in the total
                         amount of $2,125.00, representing attorneys' fees and costs,
                         to be reported on a form 1099.

        Plaintiff is specifically aware of, and agrees with, the amount of
        attorneys' fees and costs to be paid to his counsel for representing his
        interests in this matter.

        5.     Each payment as described in Paragraph 4 above must be received
  by Plaintiffs counsel (c/o Bradley P. Rothman, Esq., Weldon & Rothman, PL, 2548
  Northbrooke Plaza Drive, Naples, FL 34119) by the due date described above. If the
  Defendant fails to make any one of the payments described above by the due date,
  Bradley Rothman will notify the Defendant's representative (Suzanne Boy) by email
  at suzanne@bapfirm.com and request a cure of this defect. The Defendant shall
  thereafter have five (5) business days from the date of the notice to cure the defect
  (the "Cure Period"). If the defect is not cured within the Cure Period, the remaining
  balance of all amounts owed under this Agreement shall become immediately due
  and owing. Plaintiff shall have the right to immediately file suit or petition the
  court presiding over the Lawsuit to enter final judgment in favor of Plaintiff, and
  Defendant agrees to entry of Judgment in Plaintiffs favor (i) in an amount equal to
  the total amount due under Paragraph 3, less any payments made pursuant to
  Paragraph 4, (ii) interest (at the applicable State of Florida interest rate in effect)
                                       Page 2 of 4
Case 2:18-cv-00642-JES-UAM Document 21-1 Filed 03/07/19 Page 3 of 4 PageID 64




  from the date ofexecution oftheAgreement, and (iii) reasonable attorneys' fees and
  costs associated with the entry ofsuch judgment. Further, Defendant agree to waive
  any defenses except payment pursuant to Paragraph 4.

         6.    In the event that Plaintiff or Defendant commence an action for
  damages, injunctive relief, or to enforce the provisions of the Agreement, the
  prevailing party in any such action shall be entitled to an award of its reasonable
  attorneys' fees and all costs including appellate fees and costs, incurred in
  connection therewith as determined by the courtin any such action.

       7.     Plaintiff acknowledges and agrees that with the payment of the
  amounts stated in Paragraph 3, in light ofthe uncertainties ofthe parties' positions,
  he has been reasonably compensated for all wages and liquidated damages
  potentially owed to him under the Fair Labor Standards Act, as well as all
  attorneys' fees incurred to date, after being provided full and fair opportunity to
  review all relevant pay and time records.

         8.    By this Agreement and the consideration called for therein as part of
  this settlement, the parties fully release each other from and against any and all
  claims, demands, costs, expenses, commissions, liens, debts, liabilities, judgments,
  sums of money, actions, and causes ofaction of whatever kind and nature arising
  out of, resulting from, or in any way related to the Plaintiffs claims for overtime
  compensation, including, but not limited to, all claims for contract damages, tort
  damages, breach of duty, tortious interference, conversion, special, general, direct,
  and consequential damages, compensatory damages, loss of profits, injury to
  persons or property, punitive damages, attorneys' fees and any and all other
  damages of any kind or nature that arose or may have arisen prior to the execution
  ofthis Agreement related to the Plaintiffs claims for overtime compensation.
        9.      Plaintiff and Defendant agree that this Settlement Agreement is
  entered into knowingly and voluntarily, after having the opportunity to fully
  discuss it with an attorney. Having had the opportunity to obtain the advice oflegal
  counsel to review, comment upon, and redraft the agreement, the parties agree that
  the Agreement shall be construed as if the parties jointly prepared it so that any
  uncertainty or ambiguity shall not be interpreted against any one party and in
  favor of the other.

        10. This Agreement may be executed in several counterparts and, as
  executed, shall constitute one Agreement binding on all of the Parties,
  notwithstanding that all Parties are not signatories to the original or the same
  counterparts. This Agreement may be executed in any number of counterparts,
  each ofwhich shall be deemed an original, but all such counterparts together shall
  constitute one and the same instrument. An executed version ofthis Agreement, if


                                      Page 3 of 4
Case 2:18-cv-00642-JES-UAM Document 21-1 Filed 03/07/19 Page 4 of 4 PageID 65




 transmitted by facsimile or if scanned and emailed, shall be effective and binding as
 if it were the originally executed doctiment.

       11.    This Agreement supersedes all prior agreements and understandings
 between Plaintiff and Defendant regarding the subject matter described herein. No
 cancellation, modification, amendment, deletion, addition, or other changes in this
 Agreement or any provision hereof or any right herein provided shall be effective for
 any purpose unless specifically set forth in a subsequent written agreement signed
 by both Plaintiff and the Defendant.

        12.   Should any provision of this Agreement be declared or determined by
 any court of competent jurisdiction to be illegal or invalid, the validity of the
 remaining parts, terms or provisions shall not be affected thereby and said illegal or
 invalid part, term or provision shall be deemed not to be a part of this Agreement
 and all other valid provisions shall survive and continue to bind the parties.

        13.   The law governing this Agreement shall be that of the United States
 and the State of Florida.




                                          Signature:


 DATE: os>I°^ ll °l
                                          OSCAR AGUIRIANO



                                          Signature:


  DATE:
                                    /        /Mos
                                          SOUTH STREET RESTAURANT
                                          GROUP, INC.

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                                        Page 4 of 4
